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 1   JOSEPH SCHLESINGER, Bar #87692
     Acting Federal Defender
 2   COURTNEY FEIN, Bar #244785
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   (916) 498-5700
 5   Attorney for Defendant
     MARIO FLORES-PINEDA
 6
 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF        )             NO. Cr.S. 12-293-JAM
11   AMERICA,                )
                             )
12            Plaintiff,     )             STIPULATION AND ORDER
                             )             CONTINUING STATUS
13       v.                  )             CONFERENCE; EXCLUDING TIME
                             )
14   MARIO FLORES-PINEDA and )             Date: March 26, 2013
     SILVANO VARGAS-ESTRADA, )             Time: 9:45 a.m.
15                           )             Judge: Hon. John A. Mendez
              Defendants.    )
16   ______________________ )
17
         IT IS HEREBY STIPULATED by and between the parties
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     hereto through their respective counsel, JILL THOMAS,
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     Assistant United States Attorney, attorneys for Plaintiff;
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     and DANIEL BRACE, attorney for SILVANO VARGAS-ESTRADA, and
21
     COURTNEY FEIN, attorney for MARIO FLORES-PINEDA, that the
22
     status conference hearing date of             February 12, 2013, be
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     vacated, and the matter be set for status conference on March
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     26, 2013, at 9:45 a.m.
25
         The reason for the continuance on behalf of Mr. Flores
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     Pineda is that the parties remain in the process of placing
27
     the finishing touches on settlement.              Additional time for
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 1   further discussions with their clients and for defense
 2   preparation is also necessary for both counsel.
 3       Based upon the foregoing, the parties agree that the
 4   time under the Speedy Trial Act should be excluded from the
 5   date of signing of this order through and including March 26,
 6   2013 pursuant to 18 U.S.C. §3161 (h)(7)(A)and
 7   (B)(iv)[reasonable time to prepare] and Local Code T4 based
 8   upon continuity of counsel.
 9   DATED: February 8, 2013            Respectfully submitted,
10                                      JOSEPH SCHLESINGER
                                        Acting Federal Public Defender
11
                                        /s/ Courtney Fein
12                                      COURTNEY FEIN
                                        Assistant Federal Defender
13                                      Designated Counsel for Service
                                        Attorney for MARIO FLORES-PINEDA
14
15   DATED: February 8, 2013            /s/ Courtney Fein for
16                                      DANIEL BRACE
                                        Attorney for Defendant
17                                      SILVANO VARGAS-ESTRADA
18
19
     DATED: February 8, 2013            BENJAMIN WAGNER
20                                      United States Attorney
21                                      /s/ Jill Thomas
                                        JILL THOMAS
22                                      Special Assistant U.S. Attorney
                                        Attorney for Plaintiff
23
24   / / /
25   / / /
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 1                                       ORDER
 2       UPON GOOD CAUSE SHOWN and the stipulation of all parties,
 3   it is ordered that the February 12, 2013, status conference
 4   hearings be continued to March 26, 2013 at 9:45 a.m.                   Based
 5   on the representation of both defense counsel and good cause
 6   appearing therefrom, the Court hereby finds that the failure
 7   to grant a continuance in this case would deny defense
 8   counsel reasonable time necessary for effective preparation,
 9   taking into account the exercise of due diligence.                   The Court
10   finds that the ends of justice to be served by granting a
11   continuance outweigh the best interests of the public and the
12   defendants in a speedy trial.          It is ordered that time up to
13   and including the March 26, 2013 status conference shall be
14   excluded from computation of time within which the trial of
15   this matter must be commenced under the Speedy Trial Act
16   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local
17   Code T-4, to allow defense counsel reasonable time to
18   prepare.
19   Dated:     2/8/2013
                                     /s/ John A. Mendez
20                                   JOHN A. MENDEZ
                                     United States District Court Judge
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